                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
       vs.                                         )        No. 13-03054-01-CR-S-BCW
                                                   )
JERRY D. WRIGHT,                                   )
                                                   )
                          Defendant.               )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Counts One and

Seven and admitted to Forfeiture Allegation One contained in the Second Superseding Indictment

filed on May 6, 2014, is now Accepted and the Defendant is Adjudged Guilty of such offense.

Sentencing will be set by subsequent Order of the Court.




                                                          /s/Brian C. Wimes
                                                         BRIAN C. WIMES
                                                   UNITED STATES DISTRICT JUDGE




Date: July 1, 2014




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